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   CADDIS FUNDING, LLC
 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10 TYSE SWENDSEID,                           CASE NO.: 2:17-cv-01991-AB-FFM
   individually and on behalf of all other
11 members of the general public
   similarly situated,                       NOTICE OF SETTLEMENT
12
                 Plaintiff,
13
           v.
14
     CADDIS FUNDING, LLC,
15
16
                 Defendant.

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18
19 TO THE COURT, THE PARTIES, AND THEIR ATTORNEYS OF RECORD
20 HEREIN:
21         PLEASE TAKE NOTICE that a settlement has been reached between Plaintiff,
22 TYSE SWENDSEID, and Defendant, CADDIS FUNDING, LLC. The parties anticipate
23 that they will complete the settlement, and file a stipulation of dismissal, within 45 days
24 from the date of this notice.
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                                                                          NOTICE OF SETTLEMENT
                                                                        CASE NO. 2:17-cv-01991-AB-FFM
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 1         In light of the settlement, the parties respectfully request that the Court take off
 2 calendar all future hearing dates in this case.
 3
 4
                                            CARLSON & MESSER LLP
 5
 6 Dated: June 20, 2017               By: /s/ Alex A. Wade
                                           David J. Kaminski
 7                                        Alex A. Wade
 8                                        Attorneys for Defendant,
                                          CADDIS FUNDING, LLC
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                                                                          NOTICE OF SETTLEMENT
                                                                        CASE NO. 2:17-cv-01991-AB-FFM
